       Case 2:22-cv-02190-JAR-ADM Document 1 Filed 05/25/22 Page 1 of 5




       IN THE UNITED STATES DISTRICT COURT FOR DISTRICT OF KANSAS


LEONA WALKER,                                                       Plaintiff,

 vs.                                                      Case No. 2022-CV-

CHRISTINE E. WORMUTH, Secretary of the Army,                        Defendant.

                                         COMPLAINT

       COMES NOW Leona M. Walker, by and through one of her attorneys, Peter Charles

Rombold of Hoover Law Firm and for her Complaint over and against Defendant

states and alleges as follows:

       1.      Plaintiff is an individual residing in the State of Kansas, and County of Geary.

       2.      Defendant, is the Secretary of the United States, Department of the Army (hereafter

referred to as "Defendant") which term shall include Army Defendant’s representatives and agents,

including but not limited to the United States Army Department of Medical Activity officials and

agents, assigned or formally assigned to Irwin Army Community Hospital (IACH) at Fort Riley,

Kansas.

       3a.     Plaintiff hereby charges Defendant with discriminatory, and unlawful employment

practices, expressly prohibited by 42 U.S.C. § 2000e-2.

       3b.     Plaintiff further charges Defendant with retaliatory employment practices, also

expressly prohibited, by 42 U.S.C. § 2000e-3.

       4.      On February 24, 2022, Defendant took final action on Plaintiff's Complaint filed

with the Equal Employment Opportunity Commission in Case No’s 560-2019-00132X, and 560-
       Case 2:22-cv-02190-JAR-ADM Document 1 Filed 05/25/22 Page 2 of 5

COMPLAINT


2019-00133X and denied Plaintiff’s complaint of unlawful and discriminatory employment

practices.

       5.        This Court possesses jurisdiction of the subject matter of this action pursuant to

28 U.S.C. § 1343 and 1346.

       6a.       Plaintiff hereby charges Defendant with racially discriminatory and unlawful

employment practices, consisting of but not limited to Defendant’s subjection of Plaintiff to a

hostile and intimidating work environment due to Plaintiff's race, contrary to 42 U.S.C. §200e-2.

       6b.       Plaintiff further charges Defendant with retaliatory and unlawful employment

practices, consisting of but not limited to Defendant’s subjection of Plaintiff to a hostile and

intimidating work environment due to Plaintiff's prior protected activity, contrary to 42 U.S.C.

§200e-3.

       7.        Complainant has long been labeled and regarded by the Defendant as a

troublemaker and “angry black woman” due to her opposition to racism in the workplace and

complaints she has filed of ongoing racially discriminatory and retaliatory employment practices

against her.

       8.        This mischaracterization of Plaintiff has been carried out and perpetuated by IACH

management in order to create and maintain a hostile work environment intended to result in

Plaintiff’s resignation from IACH, and to inflict emotional and physical distress and suffering by

Plaintiff until she does. Examples of said hostile work environment, include but are not limited to

the following:

       9.        On May 7, 2018 MAJ Mary Ugaddan refused to rate Plaintiff’s performance due to

ongoing EEO and Army Regulation 15-6 investigations pertaining to Plaintiff’s complaints of

racism in the workplace.
        Case 2:22-cv-02190-JAR-ADM Document 1 Filed 05/25/22 Page 3 of 5

COMPLAINT


        10.     Nine (9) days letter another IACH official a CPT Brandon Wiilliams described

Plaintiff’s complaints as Plaintiff’s “personality conflicts, “past history, and/or current issues” and

stated that he hoped that Plaintiff’s history of such conflicts or any current conflicts would not

prevent IACH from accomplishing its mission.

        11.     Later in July of that year Plaintiff’s second level supervisor, a Ms. Loyce Striggow,

reassigned Plaintiff supposedly because Plaintiff had created a hostile work environment due to

her complaints of racism in the workplace.

        12.     MAJ Ugaddan’s counseling and refusal to fully rate Plaintiff’s performance was

without factual or regulatory basis, and was intended as reprisal against Plaintiff, without regard

for Plaintiff’s demonstrated, excellent job performance and commitment to the soldiers in

Plaintiff’s care.

        13.     When the counseling issued, MAJ Ugaddan had been supervising Plaintiff for but

a short period of time. MAJ Ugaddan informed Plaintiff that she resented Plaintiff for causing

MAJ Ugaddan to become involved in an EEO complaint, which had never happened to MAJ

Ugaddan until she was assigned to the WTB, and then became involved with a pending EEO

complaint filed by Plaintiff.

        14.     MAJ Ugaddan told Plaintiff that she had been informed of Plaintiff’s prior EEO

activity, and asked Plaintiff why she stayed at the WTB given Plaintiff’s EEO complaints.

        15.     As a result of MAJ Ugaddan’s refusal to rate Plaintiff due to pending EEO

Complaints, Plaintiff did not receive a bonus, performance awards and other recognition for job

performance, which was not only warranted by Plaintiff’s job performance, but was received by

every other similarly situated employee at the WTB.
       Case 2:22-cv-02190-JAR-ADM Document 1 Filed 05/25/22 Page 4 of 5

COMPLAINT


       16.     As a result of continuing discriminatory and retaliatory actions and the hostile and

intimidating work environment maintained by IACH against Plaintiff, Plaintiff has suffered

damages in an amount exceeding $75,000 and continues to suffer physical and emotional pain and

suffering for which she has required evaluation and treatment by health care providers, which

continues to this date.

       WHEREFORE, Complainant prays the Court issue its judgment and decree the

Defendant has committed racially discriminatory and unlawful employment practices against

Plaintiff; that Defendant has created and maintained a hostile and intimidating work environment

for Plaintiff, that the Court award Plaintiff compensatory damages in an amount exceeding

$75,000; for an Order requiring comprehensive equal employment opportunity training at Irwin

Army Community Hospital, and Ft. Riley, Kansas and such other equitable relief necessary to

prevent Plaintiff and others similarly situated, from being subjected to any further ostracization or

retaliation as a result of prosecuting this complaint, for her attorney fees and costs incurred herein,

and for such other and further relief which the Court deems just and equitable.



                                                       RESPECTFULLY SUBMITTED,

                                                       /s/ Peter Charles Rombold
                                                      Attorney for Plaintiff
                                                      Ks. S. Ct. No. 11539
                                                       HOOVER, SCHERMERHORN,
                                                      EDWARDS, PINAIRE & ROMBOLD
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      Case 2:22-cv-02190-JAR-ADM Document 1 Filed 05/25/22 Page 5 of 5

COMPLAINT




                                Demand for Trial by Jury

        Comes Now Plaintiff, by and through one of her attorneys, Peter Charles Rombold, of
Hoover, Schermerhorn, Edwards, Pinaire & Rombold and on behalf of Plaintiff hereby demand
trial by jury on the Complaint in Kansas City, Kansas.



                                                /s/ Peter Charles Rombold, #11539
                                                HOOVER, SCHERMERHORN,
                                                EDWARDS, PINAIRE & ROMBOLD
